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                              Exhibit B
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                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

    TROYCE MANASSA, individually and on
    behalf of all others similarly situated,

                        Plaintiff,

            v.
                                                                 Case No. 1:20-cv-03172-RLY-MJD
    NATIONAL COLLEGIATE ATHLETIC
    ASSOCIATION,

                        Defendant.


                                 Declaration of Raymond J. Biederman

          I, Raymond J. Biederman, declare, pursuant to 28 U.S.C. §1746, under penalty of perjury

   that the following facts are true and correct:

          1.      I am an attorney licensed to practice in Indiana, and I am the Chief Executive

   Officer and Co-Founder of Proteus Discovery Group, LLC (“Proteus”). In that capacity, I have

   personal knowledge of the facts set forth in this declaration.

          2.      Proteus has a longstanding relationship with the National Collegiate Athletic

   Association (the “NCAA”).

          3.      The NCAA retained Proteus in or about 2017, to assist the NCAA with a variety of

   e-discovery related needs.

          4.      Proteus has served as the NCAA’s e-discovery vendor in this lawsuit (the “Manassa

   Project”), as well as in roughly fifty (50) other lawsuits.

          5.      Due to my role at Proteus, I am knowledgeable about Proteus’s internal processes

   and procedures related to the selection and engagement of attorneys to assist Proteus clients like

   the NCAA in document review projects.

                                                     1
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           6.      Among other things, as the NCAA’s e-discovery vendor, Proteus hires licensed

   attorneys without any disciplinary record as independent contractors, to perform document review,

   analysis, and coding of the NCAA’s documents in connection with producing non-privileged

   documents responsive to discovery requests served on the NCAA.

           7.      Ravi Sakthivel (“Sakthivel”) submitted two applications to Proteus applying for an

   independent contractor position as a document review attorney for Proteus’ clients on two separate

   projects.

           8.      Mr. Sakthivel submitted his first application to Proteus on or about October 11,

   2021. Proteus contacted Mr. Sakthivel to work on a then pending NCAA project on October 26

   and 27, 2021. He did not reply to either request.

           9.      Mr. Sakthivel submitted a second application to Proteus on or about January 31,

   2022. This position sought document review attorneys to assist in the review, analysis, and coding

   of documents for the Manassa Project.

           10.     None of the application materials submitted by Mr. Sakthivel contained any

   reference whatsoever to FeganScott LLC (“FeganScott”). Attached hereto as Exhibit 1 is a true

   and correct copy of the resume that Mr. Sakthivel provided Proteus as part of his application

   materials for the Manassa Project, which notably omits any mention of FeganScott. In fact, he

   affirmatively represented in his resume that he was currently employed by Robbins Geller Rudman

   & Dowd LLP. Had he provided an accurate resume to Proteus, Proteus would not have hired him

   for this project.

           11.     Proteus hired Mr. Sakthivel as a document review attorney for the NCAA in the

   Manassa Project on or about March 2, 2022.




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          12.     Before Proteus hires an attorney as an independent contractor to assist in any

   document review project, it generally engages in the following due diligence: Proteus (a) reviews

   and analyzes the application materials provided by candidates, which include among other things,

   the candidate’s current resume; (b) interviews the candidate, (c) confirms that the candidate is a

   licensed attorney in good standing, and (d) confirms that the candidate does not have any attorney

   disciplinary history.

          13.     After performing the above steps, Proteus decides whether to extend an

   independent contractor offer to an attorney to assist in a document review project. If Proteus

   extends such an offer, it provides the attorney with a conflict of interest form that the attorney is

   required to review and complete prior to starting any Proteus project.

          14.     Proteus does not generally perform an internet search of information related to

   independent contractor candidates, because among other things, this approach is consistent with

   recognized employment best practices. For example, when a prospective employer refrains from

   conducting internet searches of candidates, the prospective employer is less likely to obtain

   information about whether a candidate falls within any protected status under anti-discrimination

   laws, which helps facilitate a prospective employer to make neutral employment decisions.

          15.     Proteus engaged in due diligence about Mr. Sakthivel prior to hiring him to work

   as a document review attorney for the NCAA in this lawsuit.

          16.     Attached hereto as Exhibit 2 is a true and correct copy of the “Description of

   Services/Compensation/Expenses/Conflict of Interest” form that Proteus provided to Mr.

   Sakthivel for his review and signature, prior to his start on the Manassa Project. This form

   conspicuously states that his applicable scope of work included the “[r]eview, analysis, and coding




                                                    3
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   of documents provided to Proteus by Proteus’ Client The National Collegiate Athletic Association

   (“NCAA”)”. Further, the last paragraph of this form titled “Conflict of Interest” states:

          After conducting an independent analysis of past and current clients, Contractor
          represents and warrants that Contractor has no business, professional, personal or
          other interest, including, but not limited to, the representation of other clients, that
          would conflict in any manner with the performance of Contractor’s obligations
          under this agreement. If any actual or potential conflict of interest arises under this
          Agreement, Contractor shall immediately notify Proteus of such conflict in writing.

          17.     Mr. Sakthivel signed the form attached here as Exhibit 2 on March 2, 2022, and in

   it, represented that no actual or potential conflict of interest would conflict in any manner with his

   review, analysis, or coding of documents provided by the NCAA. Had Mr. Sakthivel disclosed

   the conflict of interest, Proteus would not have hired him for this project.

          18.     As an attorney working on the Manassa Project, Mr. Sakthivel was provided a

   comprehensive document review protocol to review prior to reviewing the NCAA’s documents.

   This protocol is privileged attorney-work product developed with the NCAA’s counsel at Barnes

   & Thornburg LLP (the “NCAA’s Lead Counsel”). Among other things, the protocol contains the

   mental impressions of the NCAA’s Lead Counsel regarding issue codes that the reviewers are

   instructed to use, which are associated with case themes and legal issues specific to the NCAA’s

   legal strategy and defense in this lawsuit.

          19.     The protocol provided to Mr. Sakthivel contained exhibits which included, among

   other things, a copy of the Complaint in this lawsuit, and Plaintiff’s requests for production served

   on the NCAA. Both of these documents prominently indicate in their respective signature blocks

   that FeganScott, including Elizabeth Fegan, serves as Plaintiff’s counsel in this lawsuit.

          20.     Mr. Sakthivel was given access to the Manassa Project’s recorded document review

   training strategy meeting hosted for the attorneys engaged as independent contractors for the

   Manassa Project. The NCAA’s Lead Counsel joined this meeting, and shared among other things,

                                                     4
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   their view of the lawsuit, mental impressions about the case, and general case strategy. Attached

   as Exhibit 3 is a screenshot of this recorded meeting showing Proteus team members on the

   Manassa Project, and one of the NCAA’s Lead Counsel, Ms. Ezie-Boncoeur, presenting to the

   Manassa Project document review attorneys. Mr. Sakthivel’s initials are shown next to the red

   arrow in this exhibit, listing him among meeting participants.

          21.     Mr. Sakthivel attended at least four substantive meetings regarding case strategy in

   the Manassa Project, and instructions regarding how to code the NCAA’s documents. One of these

   meetings included the training session for independent contract attorneys working on the Manassa

   Project. The NCAA’s Lead Counsel participated in this recorded meeting, and shared among other

   things, their view of the lawsuit, mental impressions about the case, and general case strategy.

          22.     Proteus’s general practice is to record its Manassa Project strategy meetings and

   make those recordings available to project document reviewers, as a team resource to assist with

   questions that may arise during the Manassa Project. Mr. Sakthivel had access to recorded

   meetings.

          23.     As an attorney on the Manassa Project, Mr. Sakthivel was also given access to the

   Manassa Project’s Microsoft Teams discussion board. Proteus uses this interactive discussion

   board to notify document review attorneys about various items concerning this lawsuit’s legal

   strategy, including, without limitation, to: (a) summarize meetings with the NCAA Lead Counsel

   regarding various case strategy items, (b) provide information to attorneys regarding how to code

   documents using various issue codes, (c) respond to attorney inquiries regarding privilege,

   confidentiality, and responsiveness considerations for documents, and (d) to touch base regarding

   status and general questions among all document review attorneys. Mr. Sakthivel posted questions

   in this Microsoft Teams discussion board during his time on the Manassa Project.



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          24.       Mr. Sakthivel was given access to the Relativity database that houses all documents

   collected for the NCAA in the Manassa Project, including those documents not yet reviewed for

   responsiveness or privilege. The documents collected include custodial Exchange and OneDrive

   data and non-custodial SharePoint data. These documents are not publicly available and were

   collected based on NCAA’s Lead Counsel’s work product. These documents are used in a wide

   variety of NCAA cases, including other NCAA cases involving FeganScott. By way of example,

   documents collected in the Manassa Project included privileged legal hold memoranda and

   custodian interview information for the Erin Aldrich v. The NCAA case (in which FeganScott was

   lead counsel).

          25.       Proteus provided Mr. Sakthivel with Proteus specific credentials to use for all work

   related to the Manassa Project that had specific privacy protections. That said, Proteus cannot

   confirm what screenshots, recordings, or copies that Mr. Sakthivel took of any documents or

   material made available to him as an attorney working on the Manassa Project for the NCAA, or

   shared with others. Mr. Sakthivel had the ability to discuss and share the contents of the documents

   or material provided to him in the Manassa Project with others, including on a phone call or on a

   Zoom or Microsoft Teams meeting with screen sharing capabilities; however, Proteus cannot

   confirm the extent to which that may have occurred.

          26.       On April 4, 2022, Proteus terminated Mr. Sakthivel as an independent contractor.

   As stated in a true and correct copy of the April 4, 2022, termination email that Proteus sent to Mr.

   Sakthivel, which is attached hereto as Exhibit 4, Mr. Sakthivel was terminated from the Manassa

   Project due to “the severity and quantity of issues that we have seen repeated during QC [quality

   control], even after we have provided with you with feedback.”




                                                     6
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          27.     From March 3, 2022 through his April 4, 2022 termination, Mr. Sakthivel billed

   183.7 hours for his review, analysis, and coding NCAA documents in the Manassa Project. In that

   time, Mr. Sakthivel reviewed or coded 6,622 unique NCAA documents across 18 different

   custodians and a SharePoint site, some of which were voluminous documents exceeding 100

   pages, and some of which contained confidential information. Further, Mr. Sakthivel had access

   to and ran numerous queries over the document population. These searches included viewing a

   search of all of the documents that had been identified as important on initial review.

          28.     Based on Proteus’ preliminary investigation, at least 640 documents that were

   produced to FeganScott in this lawsuit were reviewed and tagged as responsive by Mr. Sakthivel.

          29.     After Mr. Sakthivel’s termination, on or about April 22, 2022, Proteus learned that

   Mr. Sakthivel had been an attorney employed by Plaintiff’s counsel in this lawsuit, FeganScott,

   during the entire time that he worked as an NCAA document reviewer in this lawsuit at Proteus.

   Prior to this date, Proteus and the NCAA had no knowledge of Mr. Sakthivel’s affiliation with

   FeganScott. Proteus shared this information with the NCAA's Lead Counsel the same day.

          30.     Attached hereto as Exhibit 5 is a true and correct copy of an April 29, 2022 letter

   from Elizabeth Fegan, the Managing Member of FeganScott, to Proteus. Among other things, this

   letter confirms that Mr. Sakthivel “was a full-time employee of FeganScott LLC from September

   7, 2020, to April 27, 2022.” (emphasis added).

          31.      Attached hereto as Exhibit 6 is a true and correct copy of a May 6, 2022 letter that

   Proteus sent to FeganScott’s Managing Member, Elizabeth Fegan.

          32.     Proteus has handled (and is currently handling) the NCAA’s e-discovery needs in

   additional lawsuits aside from the Manassa Project that also include FeganScott as Plaintiff’s

   counsel. Those lawsuits include: (a) John Doe v. the NCAA, the University of San Francisco et al.,



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   Case No. 22-1559 which is currently pending in the U.S. District Court for the Northern District

   of California San Francisco Division, and; (b) the formerly pending case Erin Aldrich v. The

   NCAA, Case No. 5:20-cv-01733-EJD in the Southern District of Indiana, Indianapolis Division.

          33.    Proteus document reviewers are given permission-based access to this material.

          I declare under penalty of perjury that the foregoing is true and correct.

   Executed on May 20, 2022.
                                                        __________________________________________________________________________________________________


                                                        Raymond J. Biederman




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                              Exhibit %
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    RaviSakthivel
        SanDiegoCounty,California rksakthivellaw@gmail.com 925Ͳ390Ͳ9125
    
        Summary

    IamaCaliforniaLicensedAttorneyingoodstandingwhoisflexible,reliable,andselfͲmotivated.Ipracticedover5
    yearsasaprojectͲbaseddocumentreviewattorneywithextensivereviewexperienceintheinsurance,healthcare,
    complexlitigation,SEC,pharmaceuticalclassactionsandcriminalfields.Ihavesuccessfullycompletedover100
    documentreviewprojectsthathaverangedinlengthfromlessthanaweek(requiring10Ͳ12houradaytoreachthe
    deadline)tooverayearandahalf.ThoughIambasedontheWestCoastIhavesuccessfullycompleteddocument
    reviewprojectsbasedonMountain,Midwest,andEastCoasttimewithnoissues.
    

        Experience

             DocumentReviewAttorney(ProjectBased)
RobbinsGellerRudman&DowdLLP2019ͲPresent
           Ͳ Revieweddocumentsandanalyzedcontentforresponsivenesstorequestsforproduction,advancingto
           theQCteamandtheprivilegereview.
           Ͳ Guidedlegalteamandexaminedteammembers'documentanalysisforaccuracy,providing
           feedbackonimprovingproductionquality.
           Ͳ Preparedprivilegelog,preservingattorneyͲclientandworkproductprivilege.
             

             DocumentReviewAttorney(ProjectBased)
TCDI2017ͲPresent
           ͲConductedsearchqueriesofmultiͲmillionͲpagedatabasestoperformfactinvestigations,preparefor
           witnessdepositions,andtorespondtodiscoveryrequestsfromopponents.
           ͲRevieweddocumentsforrelevance,content,andprivilegebeforeproduction.
           ͲPerformedQualityControlofdocumentreviewteams.
           

             ManagingDirector
ImagineReporting2018Ͳ2019
           Ͳ Manageallcontractreviewsandnegotiationswithcustomers,suppliers,andvendors.
           Ͳ Providelegaladviceandrecommendationsonapplicablelawsandriskmitigationstrategies.
           Ͳ Interpretandanalyzecontractdocumentstoreview,evaluate,andacceptorrejectcustomerrequests.


             DocumentReviewAttorney(ProjectBased)
CatalystRepositorySystems2016Ͳ2019
           Ͳ Analyzedcomplexlegaldocumentsincludingemails,contracts,spreadsheetsandotherfinancialdocuments.
           Ͳ Determinedwhichissuesappliedtoeachdocumentandcodedthedocumentsaccordingly.
           Ͳ Reviewedanddeterminedifthedocumentwasresponsivetotheissuesinthecaseanddeterminedif
           anytypeofattorneyͲclientprivilegeapplied.

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     DocumentReviewAttorney(ProjectBased)
Epiq2016Ͳ2019
      Ͳ Conductedadvancedandlastpassprivilegereview.
      Ͳ UtilizedRelativitytoscandocumentsforstatementsagainstinterest.
      Ͳ Assistedinpreparingdocumentsforproduction.
      Ͳ Revieweddocumentsproducedbyopposingcounselforcontent,relevanceandimportance.


     LegalComplianceOīicer
ArcanaInc.2016Ͳ2017
      Ͳ Ledthelegalreviewofassignmentprovisionsduringacorporaterestructuretomitigatelegalrisk.
      Ͳ Reviewedandnegotiatedmasterservice,professionalservices,andso warelicensingagreements.
      Ͳ Researchedandupdatedthecompanyprivacypolicytocomplywithrecentregulatorychanges.
      Ͳ IncreaseddocumentrevieweīiciencybydevelopingandimplementinganewEͲSignatureprocedure.


     SeniorLegalDirector
TransLegal2014Ͳ2016
      Ͳ Designed&implementedlegalstrategiestomeetgoals&supportbusinessobjectivesattheexecutiveͲ
        level.
      Ͳ Analyzedlegalprocessesandprocedurestoidentifyareasofimprovementanddevelopupdatesto
        increaseoperationaleīiciency,productivity,andquality.
      Ͳ Dra edandnegotiatedcomplexandhighͲriskcontractsasahandsͲonleader.


     SeniorManagingAttorney
Camacho&Associates2012Ͳ2014
      Ͳ ManagedlandacquisitionandcellulartowerleasesforVerizonWireless,TMobile&AT&T.

     StaīAttorney
Choe,Jackson&Weitz2009Ͳ2012
      Ͳ Litigatedforeclosuredefense,unlawfuldetainer,&bankruptcycasesinCAandFederaljurisdictions.

     AssociateAttorney
Hastings&Grewal2007Ͳ2009
      Ͳ LedFederalImmigrationLawcasemanagement.Dra legalmemoranda,performedlegal&case
        research,andrepresentedpetitionersinAsylumHearingsandCitizenshipInterviews.

Education

     UniversityofthePacificͲMcGeorgeSchoolofLaw
DoctorofLaw(J.D.),Law

     UniversityofCalifornia,SantaCruz
BachelorofArts(B.A.),History


    Case 1:20-cv-03172-RLY-MJD Document 101-2 Filed 05/23/22 Page 13 of 28 PageID #: 811


Licenses&Certifications

     RegisteredProcessServerͲCountyofSanDiego
IssuedJun2018ͲExpiresJun20203306

     LicensetoPracticeLawͲStateBarofCalifornia
256327

     RelativityCertifiedUser–Relativity

Skills
Litigation•LegalResearch•CivilLitigation•LegalWriting•LegalAdvice•Courts•LegalAssistance•
PersonalInjury•Westlaw•Arbitration
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Case 1:20-cv-03172-RLY-MJD Document 101-2 Filed 05/23/22 Page 16 of 28 PageID #: 814




                              Exhibit B
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                                          EXHIBIT A
               Description of Services/Compensation/Expenses/Conflict of Interest


   Services to be provided by Contractor:

   Review, analysis, DQGcoding of documents provided to Proteus by Proteus’ Client,
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB.
   The National Collegiate Athletic Association ("NCAA")

   Term of Agreement: Approx. ZHHNV depending on volume of documents.

   Confidential Information (as defined in Section 2.l of the Independent Contractor
   Agreement) may be utilized: (Check boxes as applicable, and set forth details as desired in
   space provided)

   []     Only at Proteus' business premises

   [X]    At Contractor's premises provided that appropriate confidentiality procedures and
   arrangements are observed

   []     Other: Given the investigation related concerns of this project, Proteus’ Client requires
   confidentiality including downloading documents only to Proteus’ Computers. As such, this
   review should occur at Proteus.

   Compensation

   Proteus shall pay Contractor Twenty-)LYH Dollars per hour ($2.00/hour) for work performed by
   Contractor to complete Services (as that term is defined in the Independent Contractor Agreement),
   which shall be due and payable to Contractor bi-weekly on or before the 16th day and first day of
   each month.

   Expenses

   Contractor is responsible for his or her own expenses unless Contractor receives prior written
   approval from an officer of Proteus that an expense is reimbursable by Proteus. Notwithstanding
   the foregoing provision, Proteus agrees to reimburse Contractor for the following expenses:

   NONE

   Conflict of Interest

   After conducting an independent analysis of past and current clients, Contractor represents and
   warrants that Contractor has no business, professional, personal or other interest, including, but
   not limited to, the representation of other clients, that would conflict in any manner with the
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   performance of Contractor’s obligations under this agreement. If any actual or potential conflict
   of interest arises under this Agreement, Contractor shall immediately notify Proteus of such
   conflict in writing.


   CONTRACTOR

    Ravi Sakthivel
   CONTRACTOR (Print Name)
    Ravi Sakthivel
   &2175$&7256,*1$785(
   3/2/2022
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
   '$7(
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                              Exhibit B
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                              Exhibit B
Case 1:20-cv-03172-RLY-MJD Document 101-2 Filed 05/23/22 Page 22 of 28 PageID #: 820


    From:             Vanessa Woolsey
    To:               ravisakthivel@gmail.com
    Cc:               Scott Collins; Sarah Barth
    Subject:          Termination of Independent Contractor Agreement
    Date:             Monday, April 4, 2022 6:35:39 PM
    Attachments:      image001.png
                      image002.png
                      image003.png
                      image004.png
                      image005.png
                      image006.png


    Ravi,

    I regret to inform you that we will be terminating your Independent Contractor Agreement with Proteus Discovery
    Group effective immediately. Unfortunately, the severity and quantity of issues that we have seen repeated during
    QC, even after we have provided with you with feedback, make us believe that this project is no longer a good fit
    for you.

    Please be sure that all your time through today is entered accurately into QuickBooks.

    We wish you well with your future endeavors.

    Regards,

                                                                 317-664-7243
    Vanessa Woolsey, CEDS
                                                                 vanessa.woolsey@proteusdiscovery.com
    Project Manager
                                                                 www.proteusdiscovery.com
    Proteus Discovery Group
                                                                 155 E Market St, Suite 400, Indianapolis, IN, 46204
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                              Exhibit B
Case 1:20-cv-03172-RLY-MJD Document 101-2 Filed 05/23/22 Page 24 of 28 PageID #: 822
                                                                                 FeganScott LLC
                                                                                 ATTORNEYS AT LAW

                                                                                 150 S. Wacker Dr., 24th Floor
                                                                                 Chicago, IL 6060g
                                                                                 312.741.1019
                                                                                 312.264.0100
                                                                                 beth@feganscott.com


                                                           April 29, 2022
    Via Email and Certified U.S Mail
    Hamish Cohen, General Counsel & Co-Founder
    Proteus Discovery Group
    155 E. Market Street, Ste. 400
    Indianapolis, Indiana 46204
    hamish.cohen@proteusdiscovery.com

          Re:    Ravi Sakthivel

    Dear Mr. Cohen,
            Ravi Sakthivel was a full-time employee of Fegan Scott LLC from September 7,
    2020, to April 27, 2022. He was listed on the Firm’s website. His LinkedIn profile also
    reflects his role as a Staff Attorney at Fegan Scott. A quick Google search would verify
    his employment at our Firm.
            It has come to our attention that Mr. Sakthivel performed document review services
    on projects through your agency during this same time period. Not only were these
    activities a violation of multiple Firm policies, neither you nor Mr. Sakthivel ran any
    conflict checks through our Firm. As a result, our Firm has been contacted by a
    Defendant in an active case we are prosecuting seeking to have our Firm disqualified
    because Mr. Sakthivel performed a document review on a project for it through an agency.
    Our Firm has been accused of a serious breach of professional ethics due to Mr.
    Sakthivel’s actions.
           We ask that you provide the names of all companies for which Mr. Sakthivel
    performed document review and the names of any associated litigation so that we may
    determine whether any conflicts exist with our Firm’s cases and the companies which we
    are suing.
           Given the potentially grave consequences to our Firm and its clients from Mr.
    Sakthivel’s actions, we request that you provide this information by Wednesday, May 4,
    2022. If you have any questions, please contact me right away.




                                                                                 FeganScott.com
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                                                                        Mark Firmani
                                                                        April 29, 2022
                                                                                Page 2




                                                   Sincerely,



                                                   Elizabeth A. Fegan
                                                   Managing Member

    cc. Timothy Scott




                                                                          FeganScott.com
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                              Exhibit B
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                                                                                 Hamish S. Cohen
                                                                   General Counsel & Co-Founder
                                                                        155 E Market St. Suite 400
                                                                            Indianapolis, IN 46204
                                                                             Main: (317) 614-7340
                                                                      www. ProteusDiscovery.com


                                                                                         May 6, 2022

   Via Electronic Mail
   (beth@feganscott.com)

   Ms. Elizabeth Fegan, Esquire
   Managing Member
   FeganScott LLC
   160 S. Wacker Drive, 24th Floor
   Chicago, Illinois 60606
                  Re:    Response to Your April 29, 2022 Correspondence Regarding
                         Attorney Ravi Sakthivel

   Dear Ms. Fegan:

          I am writing on behalf of Proteus Discovery Group, LLC (“Proteus”) and in response to
   your correspondence of April 29, 2022, regarding Attorney Ravi Sakthivel.

          As a preliminary matter, Proteus is not in privity with FeganScott LLC (“Fegan”) and has
   no duty to respond or otherwise cooperate with Fegan’s investigation. Fegan is not and has never
   been Proteus’s client, directly or indirectly.

          That said, Proteus is willing to provide the following information voluntarily:

           First, Attorney Sakthivel submitted an application to Proteus to provide legal document
   review services on an independent contractor basis. In doing so, he submitted his curriculum vitae.
   Sakthivel did not mention any association with Fegan. Rather, his curriculum vitae states he is
   still employed by Robbins Geller Rudman & Dowd, LLP.

            Second, Attorney Sakthivel executed an independent contractor agreement with Proteus on
   March 2, 2022. The terms of this Agreement provided as follows: “[a]fter conducting an
   independent analysis of past and current clients, [Sakthivel] represents and warrants that [he] has
   no business, professional or other interest, including, but limited to, the representation of other
   clients, that would conflict in any manner with the performance of Contractor’s obligations under
   this Agreement. If any actual or potential conflict of interest arises under this Agreement,
   [Sakthivel] shall immediately notify Proteus of such conflict in writing.” Sakthivel never disclosed
   any conflict during his application, onboarding or work at Proteus, despite the fact – as Proteus
   subsequently discovered – he was employed by Fegan at all times he performed work for Proteus
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   and working not only adverse to the NCAA, but on the very matter on which he was purportedly
   conducting document review.

          Please feel free to contact me directly if you would like to discuss this further.

                                                                 Very truly yours,




                                                                 Hamish S. Cohen


   Cc:    Raymond Biederman, Esquire (CEO Proteus Discovery Group, LLC)
          Karoline Jackson, Esquire (General Counsel, Barnes & Thornburg LLP)
